Case 2:10-md-02179-CJB-DPC Document 50-2 Filed 08/19/10 Page 1 of 2

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG : MDL No. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on : Section: J
APRIL 20, 2010 :
: Judge Barbier
This Document Relates to : Mag. Judge Shushan

All Cases
ORDER

Considering the foregoing Motion for Protective Order,

IT IS ORDERED that the Motion for Protective Order of Petitioners be and is hereby
GRANTED, and all parties having access to the BOP are ordered and required to take no further
actions regarding the BOP, except actions related to well control and environmental
considerations and all matters related thereto, until such time as all parties have had ample and
appropriate opportunity to provide input in the devising of an appropriate protocol for all further
handling relative to the BOP stack, and that all parties are provided the opportunity to be present
or have representatives during all forensic testing. Testing should not proceed until the Court is
satisfied, pursuant to a jointly-established protocol that the evidence related to the BOP stack

will be protected and preserved for all parties and agencies at interest in a manner which is

13

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Case 2:10-md-02179-CJB-DPC Document 50-2 Filed 08/19/10 Page 2 of 2

satisfactorily ordered by this Honorable Court.

New Orleans, Louisiana, this day of , 2010.

THE HONORABLE CARL J. BARBIER
UNITED STATES DISTRICT JUDGE

14

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